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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                    :                 Case No. 24-54623-PWB
                                          :
BELINDA'S SOUTHERN CUISINE INC.,          :                 Chapter 11
                                          :
   Debtor.                                :                 SubChapter V
__________________________________________:


  DEBTOR’S MOTION TO CONVERT THIS BANKRUPTCY CASE TO CHAPTER 7


         COMES NOW Belinda's Southern Cuisine Inc. (the “Debtor”) and files this Motion To
Convert This Bankruptcy Case To Chapter 7 (the “Motion”). In support of this Motion, the
Debtor respectfully shows this Court as follows:


                                        JURISDICTION
         1. This Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and
1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before
this Court pursuant to 28 U.S.C. §§ 1408 and 1409.


                                        BACKGROUND
         2. The Debtor was incorporated on July 29, 2020 in the State of Georgia. Belinda Hull
is the Debtor’s manager and sole shareholder and officer. Until recently, the Debtor operated a
restaurant offering southern soul food to the public (the “Business”) in a 5,192 square foot
restaurant building on approximately 1.3 acres titled in its name and located at 7322 Stonecrest
Concourse, Lithonia, DeKalb County, Georgia 30038. A dispute with the Debtor’s Point of Sale
provider resulted in cash flow problems. In response, the Debtor entered into a series of
merchant cash advance financing arrangements (“MCA loans”) with extremely high effective
interest rates. The MCA loans alleviated the cash flow problems in the short run but from an
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overall perspective caused the Debtor to fall further behind on mortgage payments, sales and use
tax payments, and miscellaneous accounts payable.
       3. In order to obtain protection from creditor collection actions and restructure its debts,
the Debtor filed its Subchapter V Chapter 11 bankruptcy petition on May 6, 2024 (the “Petition
Date”) under Chapter 11 Subchapter V of Title 11 of the United States Code, 11 U.S.C. §§ 101
et seq. (as amended, modified, or supplemented, the “Bankruptcy Code”). Tamara M. Ogier
was appointed Subchapter V trustee on May 7, 2024. In accordance with Sections 1107 and
1108 of the Bankruptcy Code, the Debtor has managed its post-Petition affairs as a debtor in
possession.
       4. However, the Debtor has not been cash flowing and has determined that a successful
reorganization in chapter 11 is not feasible. The Debtor recently ceased operations.
       5. Furthermore, the deadline for the Debtor to file a proposed Chapter 11 Subchapter V
Plan of Reorganization was August 5, 2024. See 11 U.S.C. § 1189(b). The Debtor has not filed
a proposed Plan of Reorganization, the deadline has not been extended, and the Debtor is
therefore not able to proceed in Chapter 11.


                       RELIEF REQUESTED AND BASIS FOR RELIEF


       6. The Debtor seeks entry of a Court Order pursuant to 11 U.S.C. § 1112(a) converting
this chapter 11 bankruptcy case to chapter 7 of the Bankruptcy Code.
       7. A debtor in a case under chapter 11 has a one-time absolute right to convert its
chapter 11 bankruptcy case to a case under chapter 7 unless:
          (i) the debtor is not a debtor in possession;
          (ii) the case originally was commenced as an involuntary case under this chapter; or
          (iii) the case was converted to a case under this chapter other than on the debtor's
           request.
11 U.S.C. § 1112(a).
       8. None of the above factors apply to this Debtor.

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       9. Accordingly, the Debtor may convert this bankruptcy case to a case under Chapter 7
of the Bankruptcy Code and requests that the Court enter an Order doing so.
       10. Notice and hearing is not necessary. A proposed Order has been submitted.
       WHEREFORE, the Debtor respectfully requests that this Court enter an Order converting
the bankruptcy case to Chapter 7 and grant such further relief as may be just and proper.




Dated: August 28, 2024

Prepared and submitted,
PAUL REECE MARR, P.C.                               BELINDA'S SOUTHERN CUISINE INC.
Debtor’s counsel

/s/ Paul Reece Marr                                  /s/ Belinda Hull
Paul Reece Marr                                      By: Belinda Hull
GA Bar # 471230                                      Its: CEO
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                           UNITED STATES BANKRUPTCY COURT
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In re:                                    :                Case No. 24-54623-PWB
                                          :
BELINDA'S SOUTHERN CUISINE INC.,          :                Chapter 11
                                          :
   Debtor.                                :                SubChapter V
__________________________________________:


                                 CERTIFICATE OF SERVICE

       This is to certify that I have on this day electronically filed the foregoing DEBTOR’S
MOTION TO CONVERT THIS BANKRUPTCY CASE TO CHAPTER 7 using the Bankruptcy
Court’s Electronic Case Filing program, which sends a notice of this document and an
accompanying link to this document to all registered parties who have filed appearances in the
above captioned case as follows:

Alan Hinderleider on behalf of U.S. Trustee         Tamara M. Ogier (Sub V Trustee)
United States Trustee                               tmo@orratl.com,
Alan.Hinderleider@usdoj.gov                         jc@orratl.com;tmo@trustesolutions.net;ctm
                                                    o11@trustesolutions.net
Kenneth Mitchell on behalf of Debtor
Belinda's Southern Cuisine Inc.                     Todd Robinson on behalf of Creditor
gmapclaw1@gmail.com,                                Newtek Small Business Finance, LLC
kmitchell5000@gmail.com                             todd@rfllplaw.com



         This the 28th day of August, 2024.
                                                    /s/ Paul Reece Marr
                                                    Paul Reece Marr
                                                    GA Bar No. 471230
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